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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BERNADETTE SKORUPSKA,

                             Plaintiff,

                      -v.-
                                                      20 Civ. 2831 (KPF)
525 WEST 52 PROPERTY OWNER LLC,
                                                           ORDER
CITY OF NEW YORK, PHIPPS HOUSING
DEVELOPMENT CORPORATION, and
TACONIC MANAGMENT LLC,

                             Defendants.

KATHERINE POLK FAILLA, United States District Judge:

      The Court previously entered a Case Management Plan in this matter on

October 1, 2020 (Dkt. #33). In order to allow Plaintiff to consult with recently

retained counsel, the Court hereby modifies the Case Management Plan as

follows:

      Any motion to amend or to join additional parties shall be filed on or

before December 15, 2020. Initial disclosures pursuant to Fed. R. Civ. P.

26(a)(l) shall be completed no later than November 30, 2020. All fact

discovery shall be completed no later than March 15, 2021. All expert

discovery, including reports, production of underlying documents, and

depositions, shall be completed no later than April 22, 2021. Initial requests

for production of documents shall be served by December 14, 2020.

Interrogatories pursuant to Rule 33.3(a) of the Local Civil Rules of the Southern

District of New York shall be served by December 14, 2020. Depositions of
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fact witnesses shall be completed by March 1, 2021. Requests to admit shall

be served by January 25, 2021.

     The pretrial conference scheduled in this matter for February 17, 2021,

is hereby ADJOURNED to March 24, 2021, at 10:00 a.m. in Courtroom 618

of the Thurgood Marshall Courthouse, 40 Foley Square, New York, NY.

     SO ORDERED.

Dated: October 14, 2020
       New York, New York

                                           KATHERINE POLK FAILLA
                                          United States District Judge




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